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                            IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                    DELTA DIVISION


GUY CHRISTOPHER MANNINO                                                              PETITIONER

                                      2:25-CV-00010 JM/PSH

FRANCENE HELAIRE, Acting Warden,
Forrest City Correctional Institution                                                RESPONDENT

                                               ORDER

        The Court has received proposed Findings and Recommendations from Magistrate Judge

Patricia S. Harris. No objections have been filed. After careful review, the Court concludes that

the Findings and Recommendations should be, and hereby are, approved and adopted in their

entirety as this Court's findings in all respects.

        IT IS SO ORDERED this 30th day of April, 2025.


                                                     ________________________________________________

                                                     UNITED STATES DISTRICT JUDGE
